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                      EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS

DEBORAH LAUFER,
         Plaintiff,
v.                                                         Case No: 1:20-cv-588-RP

GALTESVAR OM, LLC.,
         Defendant.

            STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


     1.      My name is Deborah Laufer. I am currently a resident of Pasco County, Florida.

             I

             am unable to engage in the major life activity of walking more than a few steps

             without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

             a cane or other support and have limited use of my hands. I am unable to tightly

             grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

             ambulating beyond the comfort of my own home, I must primarily rely on a

             wheelchair. I require accessible handicap parking spaces located closet to the

             entrances of a facility. The handicap and access aisles must be of sufficient width

             so that I can embark and disembark into a vehicle. Routes connecting the

             handicap spaces and all features, goods and services of a facility must be level,

             properly sloped, sufficiently wide and without cracks, holes or other hazards that

             can pose a danger of tipping, catching wheels or falling. These areas must be free

             of obstructions or unsecured carpeting that make passage either more difficult or

             impossible. Amenities must be sufficiently lowered so that I can reach them. I

             have difficulty operating door knobs, sink faucets, or other operating mechanisms

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        that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks

        that have unwrapped pipes, as such pose a danger of scraping or burning my legs.

        Sinks must be at the proper height so that I can put my legs underneath to wash

        my hands. I require grab bars both behind and beside a commode so that I can

        safely transfer and I have difficulty reaching the flush control if it is on the wrong

        side. I have difficulty getting through doorways if they lack the proper clearance.

        To use a pool, I require a lift or other accessible means. When sleeping in a guest

        room, I need a compliant tub or shower with required grab bars and a shower seat.

2.      When looking at a hotel online reservation system, I need information so that I

        can ascertain whether or not the hotel and its guest rooms are accessible to me.

        This includes information whether the conditions referenced above are compliant.

3.       In the past, I have observed that the vast majority of hotel online reservations

        systems do not allow for booking of accessible rooms or provide the information I

        need to make an informed choice. I have also booked a room at hotels whose

        websites claim they are “accessible”, only to find that this claim is untrue.

        Therefore, I cannot make plans to travel if I intend to stay in an accessible room

        at an accessible hotel. The failure of so many hotels to comply with the law in this

        regard deter me from making travel plans. Therefore, I am an advocate on behalf

        of both myself and other similarly situated disabled persons and consider myself a

        tester. As a tester, I visit hotel online reservations systems to ascertain whether

        they are in compliance with the Americans With Disabilities Act. In the event that

        they are not, I request that a law suit be filed to bring the website into compliance


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        with the ADA so that I and other disabled persons can use it. If a law suit is filed

        to bring the website into compliance, I frequently revisit the website to ascertain

        whether or not it has been made accessible with the information required by law.

        With respect to each law suit I file, I subsequently revisit each website because

        that is my system.

5.      I have plans to travel to Texas as soon as the Covid crisis is over and it is safe to

        travel. I intend to travel all throughout the State and I need to stay in hotels when

        I go, inclusive of hotels that are located on the route between two points I will

        visit. Because the Defendant’s hotel and so many other hotel websites fail to

        allow for booking of accessible rooms and fail to provide sufficient information

        about whether or not the hotels’ features are accessible, it makes it extremely

        difficult for me to make any meaningful choice because I am deprived of the

        information I need to make my plans.

6.      Rooms for the Quality Inn & Suites, 2611 N. E. US Hwy 83, Carizzo Springs

        Texas can be booked through various online reservations websites, including

        expedia, hotels.com, booking.com, orbitz, priceline and agoda. Prior to filing this

        lawsuit, on May 4, 6, 7, 8 and 17, 2020, I visited the online reservation system for

        the Defendant’s hotel for the purpose of reviewing and assessing the accessible

        features at the hotel and ascertain whether the websites contain the information

        required by 28 C.F.R. Section 36.302(e) and adequately informs me as to

        whether the hotel meets my accessibility needs. I was in my own home in Pasco

        County when I visited these websites. However, I was unable to do so because


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        Defendant failed to comply with the requirements set forth in 28 C.F.R. Section

        36.302(e). As a result, I was deprived the same services available to the general

        public. The websites do not identify any accessible rooms, provide for booking of

        accessible rooms or contain any information as to whether any rooms or features

        at the hotel are accessible. In my experience, I have found that third party

        websites are sometimes compliant by identifying and allowing for booking of

        accessible rooms and providing ample information about accessibility. I can

        therefore only conclude that, when a third party reservations system is not

        compliant, it is because the hotel did not provide the required information.

7.      When I encountered the above conditions, I suffered humiliation and frustration at

        being treated like a second class citizen, being denied equal access and benefits to

        the goods, facilities, accommodations and services. I am deterred from returning

        to the websites because I understand that it would be a futile gesture to do so

        unless I am willing to suffer further discrimination. I am aware that defendant

        segregates against me and other disabled persons by offering them one service:

        me a lesser service.. I am aware that I am being deprived the equality of

        opportunity afforded to non-disabled persons to utilize the online reservation

        system free of discrimination. I am also aware that my ability to travel free of

        discrimination and with equal access to information offered to the general public

        is diminished.

8.      Despite the above, I plan to again review the websites in the near future. I have a

        system whereby I always revisit the websites of every hotel I sued. In this regard,


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               I maintain a list of each hotel I have sued. I constantly go through this list and add

               to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online

               reservations system. Once a case is settled, I mark the date on my list when the

               defendant has agreed to fix its websites. When that date arrives, I revisit it again

               and record my visits. Thus, I revisit each hotel’s online reservations system at

               least two times after a lawsuit is filed. Pursuant to this system, I have already

               revisited the online reservations system for this hotel on July 16.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

      7.22.20
Date: _________                                __________________________________
                                                       DEBORAH LAUFER




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